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8                                   UNITED STATES DISTRICT COURT
9                                 CENTRAL DISTRICT OF CALIFORNIA
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11   MIGUEL HERNANDEZ,                            )   NO. CV 21-02290-FMO (Ex)
                                                  )
12                        Plaintiff(s),           )
                                                  )
13                 v.                             )   ORDER DISMISSING ACTION WITHOUT
                                                  )   PREJUDICE
14                                                )
     METROPOLITAN LIFE INSURANCE                  )
15   COMPANY et al,                               )
                                                  )
16                        Defendant(s).           )
17
            Having been advised by counsel that the above-entitled action has been settled, IT IS
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     ORDERED that the above-captioned action is hereby dismissed without costs and without
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     prejudice to the right, upon good cause shown within 30 days from the filing date of this Order,
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     to re-open the action if settlement is not consummated. The court retains full jurisdiction over this
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     action and this Order shall not prejudice any party to this action.
22
     Dated this 16th day of August, 2021.
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24                                                                         /s/
25                                                                  Fernando M. Olguin
                                                               United States District Judge
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